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UNITED STATES DISTRICT COURT
DISTRICT OF MASSACHUSETTS

                                                   :
Ernestina Depine,                                  :
                                                   : Civil Action No.: ______
                                                                       1:14-cv-13644
                        Plaintiff,                 :
        v.                                         :
                                                   :
Progress Financial Company d/b/a Progreso          : COMPLAINT
Financiero; and DOES 1-10, inclusive,              :
                                                   :
                        Defendants.                :
                                                   :

                For this Complaint, the Plaintiff, Ernestina Depine, by undersigned counsel, states

as follows:

                                         JURISDICTION

        1.      This action arises out of Defendants’ repeated violations of the Fair Debt

Collection Practices Act, 15 U.S.C. § 1692, et seq. (“FDCPA”), violations of the Massachusetts

Consumer Protection Act, M.G.L. c. 93A § 2, et seq., and the invasions of Plaintiff’s personal

privacy by the Defendants and their agents in their illegal efforts to collect a consumer debt.

        2.      Supplemental jurisdiction exists pursuant to 28 U.S.C. § 1367.

        3.      Venue is proper in this District pursuant to 28 U.S.C. § 1391(b), in that the

Defendants transact business in this District and a substantial portion of the acts giving rise to

this action occurred in this District.

                                             PARTIES

        4.      The Plaintiff, Ernestina Depine (“Plaintiff”), is an adult individual residing in

Brockton, Massachusetts, and is a “consumer” as the term is defined by 15 U.S.C. § 1692a(3).

        5.      Defendant Progress Financial Company d/b/a Progreso Financiero (“Progress”), is

a California business entity with an address of 3141 Middlefield Road, Redwood City, California
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94063, operating as a collection agency, and is a “debt collector” as the term is defined by 15

U.S.C. § 1692a(6).

       6.      Does 1-10 (the “Collectors”) are individual collectors employed by Progress and

whose identities are currently unknown to the Plaintiff. One or more of the Collectors may be

joined as parties once their identities are disclosed through discovery.

       7.      Progress at all times acted by and through one or more of the Collectors.

                       ALLEGATIONS APPLICABLE TO ALL COUNTS

   A. The Debt

       8.      The Plaintiff allegedly incurred a financial obligation (the “Debt”) to MetroPCS

(the “Creditor”).

       9.      The Debt arose from services provided by the Creditor which were primarily for

family, personal or household purposes and which meets the definition of a “debt” under

15 U.S.C. § 1692a(5).

       10.     The Debt was purchased, assigned or transferred to Progress for collection, or

Progress was employed by the Creditor to collect the Debt.

       11.     The Defendants attempted to collect the Debt and, as such, engaged in

“communications” as defined in 15 U.S.C. § 1692a(2).

   B. Progress Engages in Harassment and Abusive Tactics

       12.     Beginning in January, 2014, Progress contacted Plaintiff in an attempt to collect

the Debt.

       13.     Progress placed calls to Plaintiff’s cellular phone at the excessive rate of up to

four calls per week.




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       14.     During several conversations with Plaintiff Progress failed to inform Plaintiff that

the purpose of the call was to collect the Debt, and that any information obtained thereafter could

be used for the purpose of debt collection.

       15.     Plaintiff requested that Progress cease the collection calls until Plaintiff was

provided with validation of the Debt. In response, Progress refused to send Plaintiff validation

and continued to harass Plaintiff with frequent calls.

       16.     Progress failed to provide Plaintiff with an initial letter informing Plaintiff of her

rights within five days after the initial communication.

   C. Plaintiff Suffered Actual Damages

       17.     The Plaintiff has suffered and continues to suffer actual damages as a result of the

Defendants’ unlawful conduct.

       18.     As a direct consequence of the Defendants’ acts, practices and conduct, the

Plaintiff suffered and continues to suffer from humiliation, anger, anxiety, emotional distress,

fear, frustration and embarrassment.

                                     COUNT I
                    VIOLATIONS OF THE FDCPA 15 U.S.C. § 1692, et seq.

       19.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       20.     The Defendants’ conduct violated 15 U.S.C. § 1692d in that Defendants engaged

in behavior the natural consequence of which was to harass, oppress, or abuse the Plaintiff in

connection with the collection of a debt.

       21.     The Defendants’ conduct violated 15 U.S.C. § 1692d(5) in that Defendants caused

a phone to ring repeatedly and engaged the Plaintiff in telephone conversations, with the intent to

annoy and harass.


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        22.     The Defendants’ conduct violated 15 U.S.C. § 1692e in that Defendants used

false, deceptive, or misleading representations or means in connection with the collection of a

debt.

        23.     The Defendants’ conduct violated 15 U.S.C. § 1692e(11) in that Defendants failed

to inform the consumer that the communication was an attempt to collect a debt.

        24.     The Defendants’ conduct violated 15 U.S.C. § 1692f in that Defendants used

unfair and unconscionable means to collect a debt.

        25.     The Defendants’ conduct violated 15 U.S.C. § 1692g(a) in that Defendants failed

to send Plaintiff an initial letter within five days of its initial contact with Plaintiff as required by

law.

        26.     The Defendants’ conduct violated 15 U.S.C. § 1692g(b) in that Defendants

continued collection efforts even though the Debt had not been verified.

        27.     The foregoing acts and omissions of the Defendants constitute numerous and

multiple violations of the FDCPA, including every one of the above-cited provisions.

        28.     The Plaintiff is entitled to damages as a result of Defendants’ violations.

                                 COUNT II
       VIOLATIONS OF THE MASSACHUSETTS CONSUMER PROTECTION ACT,
                           M.G.L. c. 93A § 2, et seq.

        29.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

        30.     The Defendants employed unfair or deceptive acts to collect the Debt, in

violation of M.G.L. c. 93A § 2.

        31.     The Defendants initiated communication via telephone with the Plaintiff in excess

of two calls in each seven-day period in violation of 940 CMR § 7.04(1)(f).



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       32.      Defendant’s failure to comply with these provisions constitutes an unfair or

deceptive act under M.G.L. c. 93A § 9 and, as such, the Plaintiff is entitled to double or treble

damages plus reasonable attorney’s fees.

                                 COUNT III
              INVASION OF PRIVACY BY INTRUSION UPON SECLUSION

       33.     The Plaintiff incorporates by reference all of the above paragraphs of this

Complaint as though fully stated herein.

       34.     The Restatement of Torts, Second, § 652(b) defines intrusion upon seclusion as,

“One who intentionally intrudes…upon the solitude or seclusion of another, or his private affairs

or concerns, is subject to liability to the other for invasion of privacy, if the intrusion would be

highly offensive to a reasonable person.”

       35.     Massachusetts further recognizes the Plaintiff’s right to be free from invasions of

privacy, thus Defendants violated Massachusetts state law.

       36.     The Defendants intentionally intruded upon Plaintiff’s right to privacy by

continually harassing the Plaintiff with the above-referenced phone calls.

       37.     The telephone calls made by Defendants to the Plaintiff were so persistent and

repeated with such frequency as to be considered, “hounding the plaintiff,” and, “a substantial

burden to her existence,” thus satisfying the Restatement of Torts, Second, § 652(b) requirement

for an invasion of privacy.

       38.     The conduct of the Defendants in engaging in the illegal collection activities

resulted in multiple invasions of privacy in such a way as would be considered highly offensive

to a reasonable person.

       39.     As a result of the intrusions and invasions, the Plaintiff is entitled to actual

damages in an amount to be determined at trial from Defendants.


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       40.    All acts of Defendants and their agents were committed with malice, intent,

wantonness, and recklessness, and as such, Defendants are subject to punitive damages.

                                    PRAYER FOR RELIEF

              WHEREFORE, the Plaintiff prays that judgment be entered against Defendants:

                  1. Actual damages pursuant to 15 U.S.C. § 1692k(a)(1) against Defendants;

                  2. Statutory damages of $1,000.00 pursuant to 15 U.S.C. §1692k(a)(2)(A)

                      against Defendants;

                  3. Costs of litigation and reasonable attorney’s fees pursuant to 15 U.S.C.

                      § 1692k(a)(3) against Defendants;

                  4. Double or treble damages plus reasonable attorney’s fees pursuant to M.G.L.

                      c. 93A § 3(A);

                  5. Actual damages from Defendants for the all damages including intentional,

                      reckless, and/or negligent invasions of privacy in an amount to be

                      determined at trial for the Plaintiff;

                  6. Punitive damages; and

                  7. Such other and further relief as may be just and proper.


                        TRIAL BY JURY DEMANDED ON ALL COUNTS


Dated: September 17, 2014

                                               Respectfully submitted,

                                               By       /s/ Sergei Lemberg

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